Case 3:23-cv-01246-RNC   Document 123-5   Filed 06/18/25   Page 1 of 6




                  Exhibit C
Case 3:23-cv-01246-RNC   Document 123-5   Filed 06/18/25   Page 2 of 6
Case 3:23-cv-01246-RNC   Document 123-5   Filed 06/18/25   Page 3 of 6
Case 3:23-cv-01246-RNC   Document 123-5   Filed 06/18/25   Page 4 of 6
Case 3:23-cv-01246-RNC   Document 123-5   Filed 06/18/25   Page 5 of 6
Case 3:23-cv-01246-RNC   Document 123-5   Filed 06/18/25   Page 6 of 6
